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     Attorneys for Plaintiff and Counterdefendant
8    ASETEK DANMARK A/S and
     Counterdefendant ASETEK USA, INC.
9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             DECLARATION OF JEFFREY D. SMYTH
                          Counterdefendant,         IN SUPPORT OF ASETEK DANMARK
15                                                  A/S’S OPPOSITION TO DEFENDANTS’
     ASETEK USA, INC.,                              MOTION TO STRIKE EXHIBIT 275
16
                          Counterdefendant,
17                                                  Date:       May 5, 2022
                   v.                               Time:       1:30 PM
18                                                  Location:   Courtroom 5, 17th Floor
     COOLIT SYSTEMS, INC.,                          Judge:      Hon. Edward M. Chen
19
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED,
22   COOLIT SYSTEMS (SHENZHEN) CO.,
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

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                                                                 DECL. OF J. SMYTH ISO ASETEK’S OPPOSITION TO
                                                                   DEFENDANTS’ MOTION TO STRIKE EXHIBIT 275
                                                                                 CASE NO. 3:19-CV-00410-EMC
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1           I, Jeffrey D. Smyth, declare as follows:

2           1.      I am an attorney licensed to practice before this Court and all courts of the State of

3    California, and am a Partner with Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, counsel

4    for Plaintiff and Counterdefendant Asetek Danmark A/S (“Asetek”) in the above-entitled action. I

5    submit this declaration in support of Asetek’s Opposition to Defendants’ Motion to Strike Exhibit

6    275. The matters stated herein are based upon my personal knowledge, and if called as a witness, I

7    would testify as to the following statements.

8                                    IDENTIFICATION OF EXHIBITS

9           2.      Attached here to as Exhibit A is a true and correct copy of an excerpt of the January
10   10, 2022 deposition of Dr. Himanshu Pokharna, CoolIT’s expert in this matter.
11          3.      Attached here to as Exhibit B is a true and correct copy of an excerpt of the March
12   18, 2022 deposition of Dr. David Tuckerman, Asetek’s expert in this matter.
13                        RELEVANT FACTS CITED IN ASETEK’S MOTION
14          4.      CoolIT had not communicated Dr. Pokharna’s rebuttal opinions regarding the
15   measurement of the Antarctica device before serving his rebuttal report on December 8, 2021.
16   CoolIT produced some of the images relied on Dr. Pokharna in a collection of about 150 documents
17   measuring all aspects of various physical prior art devices. CoolIT did not provide any indication or
18   explanation of which images Dr. Pokharna would use in his report, or what Dr. Pokharna’s rebuttal
19   opinions would be, until his expert report was served on December 8, 2022
20          5.      CoolIT’s Request Nos. 99 “all documents” related to aspects of the Antarctica device.
21   Asetek did not agree to produce “all documents” in response to these requests, but did make the
22   Antarctica device available for inspection and produced documents relating to the structure,
23   marketing, and sales of the Antarctica device.
24          6.      CoolIT never raised any complaints about Asetek’s objections, response, or
25   production related to CoolIT’s Document Request Nos. 99 or 102.
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                                                                           DECL. OF J. SMYTH ISO ASETEK’S OPPOSITION TO
                                                        1                    DEFENDANTS’ MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 414-2 Filed 04/14/22 Page 3 of 3




1           I declare under penalty of perjury under the laws of the United States for the forgoing is true

2    and correct. Executed this 14th day of April 2022, at Palo Alto, California

3

4                                                 By:       /s/ Jeffrey D. Smyth
                                                        Jeffrey D. Smyth
5                                                       Attorneys for Plaintiff and Counterdefendant
                                                        ASETEK DANMARK A/S and
6                                                       Counterdefendant ASETEK USA, INC.

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                                                                           DECL. OF J. SMYTH ISO ASETEK’S OPPOSITION TO
                                                         2                   DEFENDANTS’ MOTION TO STRIKE EXHIBIT 275
                                                                                           CASE NO. 3:19-CV-00410-EMC
